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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 LOUIS SCARANTINO, Individually and On            )
 Behalf of All Others Similarly Situated,         )
                                                  )
                        Plaintiff,                )   Case No. 1:18-cv-01827-RGA
                                                  )
        v.                                        )   JURY TRIAL DEMANDED
                                                  )
 DATAWATCH CORPORATION,                           )   CLASS ACTION
 CHRISTOPHER T. COX, DONALD R.                    )
 FRIEDMAN, THOMAS H. KELLY, DAVID                 )
 C. MAHONEY, JOAN MCARDLE,                        )
 MICHAEL A. MORRISON, RICHARD DE                  )
 J. OSBORNE, RANDALL P. SEIDL,                    )
 ALTAIR ENGINEERING INC., and                     )
 DALLAS MERGER SUB, INC.,                         )
                                                  )
                        Defendants.               )

                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Louis

Scarantino (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the “Action”)

without prejudice. Defendants have filed neither an answer nor a motion for summary judgment

in the Action, and no class has been certified.

 Dated: January 14, 2019                          RIGRODSKY & LONG, P.A.

                                             By: /s/ Brian D. Long
                                                 Brian D. Long (#4347)
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